
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 95-1755

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                   MICHAEL SPOSITO,

                                Defendant - Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                       [Hon. Mark L. Wolf, U.S. District Judge]
                                           ___________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                     Coffin and Campbell, Senior Circuit Judges.
                                          _____________________

                                _____________________

               Seth M. Kalberg, by appointment of the Court, for appellant.
               _______________
               Cynthia A. Young, Attorney, U.S. Department of Justice, with
               ________________
          whom Donald K.  Stern, United States Attorney,  Ernest S. DiNisco
               ________________                           _________________
          and James D. Herbert, Assistant United  States Attorneys, were on
              ________________
          brief for appellee.



                                 ____________________

                                  February 18, 1997
                                 ____________________




















                    TORRUELLA,  Chief  Judge.   Defendant-appellant Michael
                    TORRUELLA,  Chief  Judge.
                                ____________

          Sposito was convicted of illegal gambling and aiding and abetting

          illegal gambling  in  violation of  18  U.S.C.    1955.   He  now

          appeals  the district court's denial of his motion to dismiss for

          violation of the  Speedy Trial  Act ("STA"), 18  U.S.C.     3161-

          3167,  and the  district court's  admission into evidence  of the

          prior  immunized testimony  of  Louis Padova  under the  residual

          exception to the hearsay rule.

                               I.  The Speedy Trial Act
                               I.  The Speedy Trial Act
                                   ____________________

                    A.  Standard of Review
                    A.  Standard of Review

                    In   reviewing  an  STA   ruling,  we  examine  factual

          questions under  a clear error standard  and legal determinations

          de novo.  See United States v. Rodr guez, 63 F.3d 1159, 1162 (1st
          _______   ___ _____________    _________

          Cir.), cert. denied, 116 S. Ct. 681 (1995).
                 ____________

                    B.  The Legal Framework
                    B.  The Legal Framework

                    At  issue is 18 U.S.C.     3161 et  seq., which require
                                                    ________

          that:

                      the  trial of a  defendant charged  in an
                      information   or   indictment  with   the
                      commission of an  offense shall  commence
                      within seventy days  from the filing date
                      (and making public) of the information or
                      indictment,   or   from   the  date   the
                      defendant has appeared before  a judicial
                      officer of the court in which such charge
                      is pending, whatever date last occurs.

          18  U.S.C.   3161(c)(1); see also Henderson v. United States, 476
                                   ________ _________    _____________

          U.S. 321, 322  (1986).  If the defendant is  not brought to trial

          within  the   seventy  day  time  period,   "the  information  or

          indictment  shall be dismissed on  motion of the  defendant."  18


                                         -2-














          U.S.C.   3162(a)(2); see Rodr guez,  63 F.3d at 1162.   Not every
                               ___ _________

          day between the indictment  or appearance and the start  of trial

          is  counted,  however.    Section  3161(h)  provides  a  list  of

          circumstances in which the STA is tolled.

                    The question  before us, therefore,  is whether seventy

          countable  days  passed  between  the indictment  of  Sposito  on

          April 13, 1994, and the start  of the trial on January  17, 1995.

          There are  several periods of time  in dispute, but we  need only

          consider the last  of these --  from December 1, 1994  to January

          13,  1995.1  Defendant states that 41 countable days passed prior

          to  December  1,  1994.   Because  we  find  that  there were  no

          countable  days  from  December  1,  1994  to  January 13,  1995,

          defendant's claim under the  STA must fail, regardless of  how we

          would rule on the earlier periods.

                    On November  30, 1994,  the previously  scheduled trial

          date  of December 12 was  postponed indefinitely.   At that time,

          the  government's  motion  in   limine  to  restrict  the  cross-

          examination  of  certain  law  enforcement  witnesses,  filed  on

          November 8, was  pending.   The motion in  limine was  eventually

          heard  during the trial, with argument on the motion taking place

          on January 31, 1995.  We must decide whether the motion in limine

          tolled the STA clock from November 8 to January 13.

                    Three   principal  sources   of  authority   frame  our

          decision.   First,  there  is the  statute,  which requires  that
                              
          ____________________

          1  Although  the trial started  on January 17, the  parties agree
          that the filing of the January 13 motion to dismiss for violation
          of the STA tolled the STA clock.

                                         -3-














          "delay resulting from any pretrial motion, from the filing of the

          motion  through the conclusion of the hearing on, or other prompt

          disposition of,  such motion" be  excluded from the  time counted

          against  the STA.  18 U.S.C.   3161(h)(1)(F).  Congress chose not

          to  include any  explicit exceptions  in the  statutory language.

          Yet Congress was conscious of the possible need for more flexible

          exclusion  requirements, as  demonstrated by  other parts  of the

          statute.  For example, in section 3161(h)(8)(A), the Act excludes

          periods  of delay resulting from a continuance, but only when the

          trial  court sets forth, in  the record, its  reasons for finding

          that "the ends of  justice served by taking such  action outweigh

          the  best interest of  the public and  the defendant in  a speedy

          trial."  18 U.S.C.   3161(h)(8)(A).

                    Second, in  Henderson v.  United States, 476  U.S. 321,
                                _________     _____________

          327  (1986),  the  Supreme  Court held  that  "Congress  intended

          subsection  (F)  to exclude  from the  Speedy Trial  Act's 70-day

          limitation  all time  between  the filing  of  a motion  and  the

          conclusion of  the hearing on that motion, whether or not a delay

          in  holding that  hearing is  'reasonably necessary.'"   Id.   In
                                                                   ___

          Henderson,  a motion to suppress  was filed on  November 3, 1980,
          _________

          and a  hearing was  held on  March 25, 1981,  at which  the trial

          court  "declined  to reach  a  final decision  because  it needed

          further  information.  The court  did not receive  all filings in

          connection  with the motion until December 15, 1981."  Id. at 332
                                                                 ___

          (citations omitted).  The  Court excluded all of this  time under

          section 3161(h)(8)(F).  Id.
                                  ___


                                         -4-














                    Finally,  we  are bound  by  our own  ruling  in United
                                                                     ______

          States  v. Rojo-Alvarez, 944 F.2d 959 (1st  Cir. 1991).  In Rojo-
          ______     ____________                                     _____

          Alvarez,  the government  filed a  motion in  limine on  March 8,
          _______

          1990.   On April 5, 1990,  the district court  reserved ruling on

          the merits  of the  motion until  trial.   On appeal,  this court

          stated that: 

                      [w]e do not believe  that a court  should
                      put  off consideration  of  a motion  and
                      exclude the time during which  the motion
                      lies dormant.  However, when the court is
                      presented with papers styled as a motion,
                      whether it ultimately determines that the
                      filing is a pretrial motion  or an 'other
                      proceeding'  under  (J),  the   court  is
                      entitled  to exclude at  least the period
                      of time during which  it considers how to
                      treat the filing.

          Id. at  966.  The court  in Rojo-Alvarez disposed of  the case by
          ___                         ____________

          excluding the time between the filing of the  motion and the date

          upon which it was  reserved.  The panel's language  regarding the

          time a  motion lies  dormant did  not affect  the outcome  of the

          case.2

                    In the instant case, the government filed its motion in

          limine on  November 8, 1994.   As  an initial matter,  motions in

                              
          ____________________

          2   Cf. United States  v. Clymer, 25  F.3d 824, 829-30  (9th Cir.
              ___ _____________     ______
          1994)  (finding that  time  after the  district court  explicitly
          postponed ruling  on the  relevant motion  until after the  trial
          must be counted against the STA clock); United States v. Gambino,
                                                  _____________    _______
          59 F.3d  353, 357-59 (2d Cir. 1995) (ruling that the STA clock is
          "not tolled  when the  postponement  of a  pretrial motion  until
          after trial does not effect a trial court's ability to proceed"),
          cert. denied, 116 S. Ct.  1671 (1996).  But see United  States v.
          ____________                            _______ ______________
          Riley,  991 F.2d 120,  123 (4th  Cir. 1993)  (ruling that  when a
          _____
          hearing on a pretrial  motion is deferred until after  trial, all
          of the time from  the filing of the motion  until its disposition
          is excluded).

                                         -5-














          limine  are  "pretrial  motions"  for  the  purposes  of  section

          3161(h)(1)(F), implying  that the filing  of such a  motion tolls

          the STA clock.   See id.; see also United  States v. Santoyo, 890
                           ___ ___  ________ ______________    _______

          F.2d  726, 728 (5th Cir. 1989); United States v. Johnson, 32 F.3d
                                          _____________    _______

          304, 306 (7th Cir. 1994).  The motion was not heard until January

          31, 1995, well  after the start of trial.   Between the filing of

          the  motion and the trial date, the  court made no mention of the

          motion in limine.   Specifically, it did not, at  any time, state

          that it considered the motion "dormant." 

                    Defendant-appellant  contends  that the  district court

          implicitly  relegated  the  motion  to  dormant  status  when  it

          postponed the  trial indefinitely.   He argues  that "[u]pon  the

          issuance by the Court on November 30 of the Notice cancelling the

          December 12 trial date without  the setting of a new trial  date,

          and because of that Notice, it was then apparent that the Court's

          other business and  or convenience  had put the  Sposito case  on

          hold."  Appellant's Brief at 25.  Appellant then appeals to Rojo-
                                                                      _____

          Alvarez for  the proposition that  time during which  motions lie
          _______

          dormant is to be counted against the STA clock.

                    We disagree with  appellant's claim.  In  our view, the

          motion was  never relegated to  dormant status for  STA purposes.

          The  order postponing  the trial  read, in  its  entirety, "[t]he

          trial scheduled to begin December 12, 1994 has been canceled.  It

          will  be rescheduled for a future date  to be advised."  District

          Court  Order of Cancellation, November  30, 1994.   No reason was




                                         -6-














          given for the postponement  and there was no suggestion  that the

          motion in limine had been reserved until trial.3

                    To  find that  the  motion was  dormant, therefore,  we

          would have to rely on speculative inferences about the statements

          and actions  of the lower  court.  We decline  to do so.   We are

          unwilling to  adopt the position that appellate courts should sit

          in review of the day-to-day operation of district courts in order

          to  determine  when  a  district  court's  decision  to  put  off

          consideration of a motion makes that motion "dormant" and when it

          does  not.   District courts  are busy  and must  constantly make

          scheduling decisions with  respect to the many  matters for which

          they are responsible.  We are ill equipped to second guess  these

          decisions.  There is  no reliable way for  an appellate court  to

          divine  the  intent  of the  district  court  with  respect to  a

          particular motion or its docket in general.  Rather than open the

          door  to appeals that ask this court to  read the tea leaves of a

          trial's  scheduling orders,  we will  only  look to  the explicit

          statements of the lower court.

                    Our ruling today is also based on our interpretation of

          the STA and Henderson.  On the one hand, neither of these sources
                      _________

          suggests  that dormant  motions fail  to trigger  excludable time
                              
          ____________________

          3  Appellant also points to the district court's remarks, made on
          the first day of trial, in which the court referred to the motion
          in limine,  stating, "I have been  planning to have  a hearing on
          that  in connection with the trial  . . . .   I think holding the
          motion to resolve once I  have found that there was not  going to
          be  a plea,  and apparently  there won't  be, is  consistent with
          [Henderson]."   However one may interpret  these remarks, they do
           _________
          not amount to an  explicit relegation of the motion  in limine to
          dormant status.

                                         -7-














          under subsection (F).  On the other hand, we recognize that there

          may be sound policy reasons for an exception to subsection (F) in

          the case of dormant motions.  Because the statute does not itself

          create  such an  exception, however,  and because  Henderson held
                                                             _________

          that even  unreasonable delays  shall be excluded,  any exception

          for dormant motions should  at the very least be  drawn narrowly.

          We  do not  believe that an  exception for motions  deemed, by an
                                                              ______

          appellate  court,  to have  been  dormant,  without any  explicit

          indication  to  that  effect  by the  district  court,  would  be

          consistent with the strong language of the STA and Henderson.
                                                             _________

                    Furthermore,  from the  point of  view of  an appellate

          court,  there does  not  appear to  be  a principled  distinction

          between a motion that is dormant and one for which  the period of

          delay  prior to hearing is unreasonable.  In other words, finding

          a motion to have been dormant without any language to that effect

          in the record will often be  similar to concluding that there has

          been  unreasonable delay.    Henderson has  established that  all
                                       _________

          delay,  even if unreasonable, is excluded.  To count time against

          the  STA clock  on  the ground  that  the motion  was  implicitly

          relegated to dormant status, therefore,  would be contrary to the

          spirit of Henderson.
                    _________

                    We  hasten to add that this opinion should not be taken

          either  to criticize or  to support the  language in Rojo-Alvarez
                                                               ____________

          concerning dormant motions.   See Rojo-Alvarez, 944 F.2d at  966.
                                        ___ ____________

          Our  holding only extends  to the question of  whether or not the

          district  court  reserved  ruling  on  the  motion  or  otherwise


                                         -8-














          relegated the motion to dormant status.  We do not comment in any

          way on the  implications, for  Speedy Trial Act  purposes, of  an

          explicit ruling that a motion  is dormant or that the court  will

          reserve ruling on the motion.

                    As a result of our ruling,  the 43 days from December 1

          to January  13 are not counted for STA purposes.  In light of the

          fact  that appellant claims only 41 days were counted against the

          STA clock prior  to December  1994, our finding  implies that  we

          must affirm the district court's ruling on the STA issue.
               ______

                         II.  The Admission of Evidence Claim
                         II.  The Admission of Evidence Claim
                              _______________________________

                    Defendant-appellant  next  alleges  that  the  district

          court erred  in admitting into  evidence the  prior testimony  of

          Louis  Padova.   Padova had  testified in  October 1992,  under a

          compulsion and immunity order, at the trial of Arthur Marder, who

          was  accused of  illegal  gambling.   At  Marder's trial,  Padova

          testified that Marder had told him that he was paying everyone --

          the  implication   being  that  Marder  paid   off  local  Revere

          politicians in order to protect his illegal video poker business.

          It was alleged that these payments were made via Sposito.

                    At Sposito's  trial, Padova  refused  to testify,  even

          with immunity, and was  found in contempt.  The  government moved

          to admit Padova's  testimony from  the prior Marder  trial.   The

          district court found Padova to be unavailable  within the meaning

          of Federal  Rule of  Evidence 804(a)(2)  and  found the  previous

          testimony  to  be  admissible  under  Federal  Rule  of  Evidence

          804(b)(5).  Appellant contests the Rule 804(b)(5) ruling.


                                         -9-














                    The  proper  interpretation  of the  Federal  Rules  of

          Evidence is a question of law and is reviewed de novo, see Texaco
                                                        _______  ___ ______

          Puerto  Rico v. Department of Consumer Affairs, 60 F.3d 867, 874-
          ____________    ______________________________

          75  (1st Cir. 1995); Hathaway  v. Coughlin, 99  F.3d 550, 555 (2d
                               ________     ________

          Cir.  1996); United States  v. Medina-Estrada,  81 F.3d  981, 986
                       _____________     ______________

          (10th  Cir.  1996),  but the  application  of  Rule  804(b)(5) is

          reviewed  under an  abuse-of-discretion  standard.  See  Cook  v.
                                                              ___  ____

          United States, 904 F.2d 107, 111 (1st Cir. 1990).
          _____________

                    In  ruling on  the question,  the district  court found

          "that  the testimony  relates to a  material fact  whether Arthur

          Marder was indeed paying off politicians to obtain protection for

          his video  poker machine  business in Revere.   If  that fact  is

          proven,  it increases the likelihood that he was paying off those

          politicians  through Mr. Sposito."   2/7 Tr. 15.   The court also

          found  that "the  testimony of  Padova is  more probative  on the

          point  of  what  Arthur Marder  said  to  Padova  than any  other

          testimony the Government can procure."  2/7 Tr. 16.

                    Rule 804(b)(5) requires that:

                      (A)  the statement is offered as evidence
                      of a material fact;

                      (B)  the statement  is more  probative on
                      the point  for which  it is offered  than
                      any  other  evidence which  the proponent
                      can  procure through  reasonable efforts;
                      and

                      (C) the general  purposes of these  rules
                      and the interests of justice will best be
                      served by admission of the statement into
                      evidence.




                                         -10-














          Fed. R. Evid.  804(b)(5)(A), (B),  (C).4  Reading  the first  two

          subparagraphs together,  defendant argues,  requires that  (B) be

          read  as if it  included the words  "of material  fact" after the

          word  "point."   Thus, the  defendant alleges  that  the district

          court  erred by  not directing  its inquiry  to the  "question of

          whether Marder's  statement to Padova  was more probative  on the

          issue of whether Marder was paying off politicians than any other

          available testimony."  Appellant's Brief at 35.

                    Before  proceeding, we  note that  defendant's argument

          rests on the  assumption that the question of what Marder said to

          Padova is  not  a material  fact.   If  it  is a  material  fact,

          Padova's testimony  would be admissible,  even under  defendant's

          preferred interpretation of  the rule.  To conclude, as defendant

          does, that the question of whether Marder  was paying politicians

          is   material fact  and yet  the fact that  he stated  as much to

          Padova is not a material fact is an exceedingly fine distinction,

          and not one upon which the question of admissibility should turn.

                    The  relationship between subparagraphs  (A) and (B) of

          Rule  804(b)(5) appears to be a matter of first impression within

          the circuit.   We begin, as  always, with an  examination of  the

          plain  language of the rule.   Subsection (B)  requires only that

          the statement be  more probative on  "the point  for which it  is

          offered."    The  subparagraph  does not  include  the  words "of

          material fact" as advocated  by defendant.  The drafters  of Rule
                              
          ____________________

          4  In  addition to  these requirements, the  statement must  also
          have "equivalent  guarantees of trustworthiness."   Fed. R. Evid.
          804(b)(5).

                                         -11-














          804(b)(5) separated the "material fact" element of the test found

          in  subparagraph  (A)  from   the  "more  probative"  element  of

          subparagraph (B).   Were the  rule intended to  have the  meaning

          advocated  by defendant,  it could  have been  written  with much

          greater  clarity.  Had the  drafters wanted to  include the words

          "of material fact" following the word "point" in subparagraph (B)

          they obviously could  have done  so.  Furthermore,  by doing  so,

          they  would have eliminated the need for subparagraph (A) because

          the necessity of a material fact would be explicit in the revised

          subparagraph (B).  As written, however, the plain language of the

          rule does not  require that the issue  on which the statement  is

          most probative be a  material fact; it  requires only that it  be

          probative on the point "for which it is offered."   Fed. R. Evid.

          804(b)(5)(B).

                    Furthermore,  subparagraph (A)  requires only  that the

          statement be offered as evidence of a material fact.  It need not
                                  ________

          itself be  a material fact.   If we were to  import language from

          subparagraph (A) to subparagraph (B), it would be more natural to

          add the words "of evidence" after the word "point," such that (B)

          read, "the statement is  more probative on the point  of evidence
                                                                ___________

          for which  it is  offered than any  other evidence."   Under this

          interpretation, appellant's claim would fail.  The district court

          established  that the statement  was offered  as evidence  of the

          fact that Marder was  paying off politicians and that  the latter

          was a point of material fact.  The statement is more probative on

          that point  of evidence --  what Marder told  Padova -- than  any


                                         -12-














          other  evidence   that  the  government  could   procure  through

          reasonable efforts.

                    Defendant, perhaps recognizing that the language of the

          rule  is  not favorable  to  his argument,  turns  to legislative

          history.   He  points to  language in  the Senate  Report to  the

          effect that the residual hearsay exception should be used rarely.

          S.  Rep. No.  1277,  93d  Cong.,  2nd  Sess.  (1974).    Our  own

          examination of the legislative history, however, reveals that the

          inclusion  of the  residual  hearsay exception  was intended  for

          cases,  such as  the  one before  us,  that "have  guarantees  of

          trustworthiness   equivalent  to  or   exceeding  the  guarantees

          reflected  by the [other Rule  804(b)] exceptions, and  to have a

          high degree of prolativeness [sic]."  Id.
                                                ___

                    In  order to illustrate  the type of  evidence that the

          Senate  Committee felt should be  admitted but that  may not fall

          within one of  the other  hearsay exceptions,  the Senate  Report

          cited Dallas  County v.  Commercial Union Assurance  Company, 286
                ______________     ___________________________________

          F.2d 388 (5th Cir. 1961).   S. Rep. No.  1277.  At issue in  that

          case was the cause of the collapse of the Dallas County Courtroom

          clock tower.  Insurance  investigators believed that it collapsed

          due to structural defects.  Dallas County believed that the tower

          collapsed as a result of being struck by a bolt of lightning.  In

          support  of its  position, the  County introduced  into evidence,

          among  other things,  charcoal and  charred timbers found  in the

          tower debris.  Id. at 390.  In order to  rebut this evidence, the
                         ___

          insurers  sought  to  introduce  a newspaper  article  from  1901


                                         -13-














          describing  a fire  that had  occurred in  the courtroom  in that

          year.   The court admitted the evidence  despite the fact that it

          was not characterized "as a 'business record', nor as an 'ancient

          document',  nor as  any  other readily  identifiable and  happily

          tagged species of hearsay exception."  Id. at 398.
                                                 ___

                    The  Senate Report  stated that  "[b]ecause exceptional

          cases like  the Dallas County case  may arise in  the future, the
                          _____________

          committee has decided to reinstate a residual exception for rules

          803 and 804(b)."  S. Rep. No. 1277.

                    Under  defendant's construction of the residual hearsay

          exception, however, the newspaper  article in Dallas County would
                                                        _____________

          not  be admissible.    The newspaper  article  was introduced  as

          evidence of the material  fact that the charred timbers  were the

          result of a fire that  took place more than fifty years  prior to

          the case.  The  newspaper story did not, however,  go directly to

          the question  of why the  charred timbers  were in the  tower, it

          only  went to the fact that  there had been a fire  in 1901.  The

          story was not more probative on the point of why the timbers were

          charred than any other evidence.  It was, however, more probative

          than  any other evidence that  the insurers could  provide on the

          question of whether there had been a fire.

                    Just as in  the case at  bar, therefore, a  requirement

          that the statement  be more  probative on the  point of  material

          fact than  other available evidence would exclude the evidence in

          question.  This is certainly not what the Senate Committee, which




                                         -14-














          used the Dallas County  case as an  example of evidence that  was
                   _____________

          correctly admitted, intended.

                    Finally, we turn to the policies served by the residual

          hearsay exception.  These can be summarized as follows:

                      1.  To provide sufficient  flexibility to
                      permit the  courts to  deal with  new and
                      unanticipated situations.

                      2.    To  preserve the  integrity  of the
                      specifically enumerated exceptions.

                      3.   To facilitate the  basic purpose  of
                      the  Federal  Rules  of  Evidence:  truth
                      ascertainment  and  fair adjudication  of
                      controversies.

          11 Moore's Federal  Practice    803(24)[7] (2d ed.  1994 &amp;  Supp.

          1996-97).  It  is our view that these  objectives are best served

          by rejecting defendant's proposed construction of 804(b)(5).  The

          defendant's  proposed interpretation would  needlessly reduce the

          flexibility   available   to   courts  dealing   with   new   and

          unanticipated  situations.   By excluding  evidence that  has, as

          required  by 804(b)(5), "equivalent  circumstantial guarantees of

          trustworthiness," defendant's proposed interpretation  would also

          make  truth ascertainment  and the  fair adjudication  of justice

          unnecessarily difficult.

                    For  the  above  reasons,   we  decline  to  adopt  the

          defendant's reading of subparagraphs (A) and (B), and we conclude

          that the district court did not  err, as a matter of law, in  its

          interpretation of Rule 804(b)(5)(B).

                    We examine  the  district court's  application  of  the

          rule.  Defendant-appellant claims  that the admission of Padova's


                                         -15-














          testimony  was erroneous  because  the district  court failed  to

          analyze each part  of the  testimony in order  to determine  each

          part's reliability.   In support  of his  claim, defendant  cites

          Williamson  v. United  States,  512 U.S.  594,  114 S.  Ct.  2431
          __________     ______________

          (1994), in which the  Supreme Court ruled that, for  the purposes

          of Rule 804(b)(3), which governs statements against interest, the

          word  "statement" refers to a single remark.  "The district court

          may  not  just  assume for  purposes  of  Rule  804(b)(3) that  a

          statement  is self-inculpatory  because it  is part  of a  fuller

          confession."   Williamson, 512  U.S. at __,  114 S. Ct.  at 2435.
                         __________

          Defendant would have us apply  the same definition of "statement"

          to  Rule 804(b)(5) and, under  such a definition,  he argues that

          the district court failed to analyze each part of the testimony.

                    We note  initially that defendant failed  to raise this

          issue  at trial.  Arguments  raised for the  first time on appeal

          are forfeited and reversible only upon  a demonstration of "plain

          error."   United States v.  Sullivan, 98 F.3d 686,  687 (1st Cir.
                    _____________     ________

          1996).   "Under this standard,  an appellant bears  the burden of

          establishing:   (1)  'error,' i.e., a  '[d]eviation from  a legal
                                        ____

          rule'; (2)  that the error is 'plain'  or 'obvious'; and (3) that

          the plain error affected 'substantial rights.'"  United States v.
                                                           _____________

          Winter, 70 F.3d  655 (1st  Cir. 1995) (quoting  United States  v.
          ______                                          _____________

          Olano, 507 U.S.  725, 732 (1993)), cert. denied,  116 S. Ct. 1366
          _____                              ____________

          (1996); Fed. R. Crim. Proc. 52(b).

                    This  circuit  has  not  yet  determined   whether  the

          definition  of   "statement"  adopted  for   Rule  804(b)(3)   in


                                         -16-














          Williamson also applies  to Rule  804(b)(5).5  We  need not  make
          __________

          this determination in the instant case, because defendant's claim

          fails regardless.  If Williamson's definition of "statement" does
                                __________

          not  apply, defendant's claim is without merit because we find no

          plain error in the district court's  review of the testimony as a

          whole   --  viewing  it  as   a  single  statement   --  and  its

          determination  that  the  requirements  of  Rule  804(b)(5)  were

          satisfied.    The district  court  concluded  that the  testimony

          included adequate  guarantees of  trustworthiness because  it was

          given  under  oath,  because  Padova was  immunized,  because  he

          testified upon personal knowledge,  and because he was vigorously

          cross-examined by  defense counsel in  the Marder trial.6   These

          indicia  of  reliability are  sufficient  to  establish that  the

          district court's  conclusion that the testimony  was reliable was

          not plain error.  The district court also found subparagraphs (A)

          through  (C) satisfied,  and  we  find  no  plain  error  in  its

          analysis.7
                              
          ____________________

          5   But see United  States v. Canan,  48 F.3d 954, 960  (6th Cir.
              _______ ______________    _____
          1995) ("[T]he term 'statement' must mean 'a single declaration or
          remark'  for  purposes  of all  of  the  hearsay  rules."), cert.
                                                                      _____
          denied, 116 S. Ct. 716 (1996).
          ______

          6  Defendant accurately points out that testifying under immunity
          is  not always  considered an  indicator  of truthfulness.   See,
                                                                       ___
          e.g., United States v. Zanino, 895 F.2d 1, 7 (1st Cir. 1990).  It
          ____  _____________    ______
          is  not for  us,  however, to  conduct  a plenary  review of  the
          district court's  determination regarding the reliability  of the
          testimony or to  review every factor  considered by the  district
          court.  The fact that the trial judge felt immunity bolstered the
          credibility of the testimony does not amount to plain error.

          7   Appellant  alleges that  the district  court examined  only a
          small  part of  Padova's  testimony and  improperly admitted  the
          remainder of the testimony.  We find no support for this claim in

                                         -17-














                    If   Williamson  applies,  our  analysis  becomes  more
                         __________

          complicated.   The district court does not appear to have engaged

          in a sentence-by-sentence analysis of the testimony, as  would be

          required  by Williamson.  The  indicators of reliability that the
                       __________

          district  court used, however, are not specific to any portion of

          the  testimony  and  would  apply  to  every  statement  therein,

          implying that there is  no error with respect to  the reliability

          of the testimony.   Specifically, the district court  stated that

          "Mr. Padova  testified at  the Marder  trial under  oath, he  was

          immunized and, therefore, had  an incentive to tell the  truth in

          order  to avoid prosecution for perjury.  He testified based upon

          personal  knowledge."    The  judge  also  noted  that   "he  was

          vigorously  cross-examined by  Mr. Duggan, the  defense counsel."

          Tr. 2/7 14-15.

                    Had  the trial  court conducted  a sentence-by-sentence

          analysis, therefore, it would have applied these same criteria to

          every sentence  and  would  have  concluded  that  each  one  had

          sufficient indicators  of reliability.  There  was, therefore, no

          plain  error  in  the  assessment  of  the  reliability  of   the

          testimony.

                    With   respect  to   subparagraphs   (A)-(C)  of   Rule

          804(b)(5),  however,  not  every  sentence of  the  testimony  is

          admissible.   For example,  not every sentence  in that testimony

                              
          ____________________

          the record.  The transcripts of the proceedings indicate that the
          district  court considered the testimony  as a whole  in order to
          determine whether  the requirements  of Rule 804(b)(5)  were met.
          Tr. 2/7 13-16.

                                         -18-














          can be said to have been offered as evidence of  a material fact.

          For this reason, assuming, arguendo, that Williamson applies, the
                                     ________       __________

          district court's  ruling  was  erroneous.   The  error  was  not,

          however,  "plain," as  required  by  Winter.    In  order  to  be
                                               ______

          considered  plain, the error must  be "so 'plain'  that the trial

          judge  and prosecutor  were  derelict in  countenancing it,  even

          absent  the  defendant's  timely  assistance  in  detecting  it."

          United States v. Frady, 456  U.S. 152, 163 (1982).  The  error in
          _____________    _____

          this case was not sufficiently clear as to rise to the level of a

          plain  error.   The error,  if it  existed at  all, turns  on the

          interpretation and  application of  Williamson to a  case dealing
                                              __________

          with  a hearsay exception that was  not implicated in Williamson.
                                                                __________

          No  cases are  on point in  this circuit,  and the  issue was not

          raised at trial.

                    Furthermore, even if we  concluded that there was plain

          error,  the  defendant still  must show  that the  error affected

          "substantial rights."  In order to affect substantial rights, the

          error  "must have  affected  the outcome  of  the district  court

          proceedings."  Olano, 507 U.S. at 734.  The analysis  is the same
                         _____

          as  a  "harmless  error"  analysis,  except  that  "[i]t  is  the

          defendant  rather than  the  Government who  bears the  burden of

          persuasion with respect  to prejudice."   Id.   Defendant in  the
                                                    ___

          instant  case has failed  to demonstrate that  the error affected

          the outcome of  the proceedings.   Indeed,  defendant-appellant's

          brief pursues only  a harmful error  argument and concludes  that

          "Padova's testimony  .  . .  very  well  could  have  tipped  the
                                                   ___________


                                         -19-














          scales."  Appellant's  Brief at 44 (emphasis added).   Even if we

          were to agree with  this assertion, it is  not enough, under  the

          plain  error standard,  that  the error  could  have changed  the
                                                   ___________

          outcome.  We  can find plain  error only if  the error must  have
                                                                 __________

          done so.

                    Finally,  we address  defendant's claim  that Sposito's

          counsel  would  have undertaken  a  more  vigorous and  extensive

          cross-examination of Padova than did Marder's counsel.  We do not

          dispute that it would have been better to have Padova testify and

          be  subject  to  cross-examination.    Given  that  he  was   not

          available, a  fact defendant  does not  dispute, the  question is

          whether  his previous testimony should have  been admitted.  This

          matter  goes to  the question  of whether  there  were sufficient

          guarantees  of trustworthiness.   As  we have  already discussed,

          defendant  has failed  to persuade  this court that  the district

          court's conclusion that such guarantees existed was plain error.

                                   III.  Conclusion
                                   III.  Conclusion

                    For  the  foregoing  reasons,  we  affirm the  district
                                                       affirm
                                                       ______

          court's rulings on the STA claim and the evidence claim.
















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